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PROPOSED COUNSEL FOR DEBTORS

                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION

IN RE:                                            §                CHAPTER 11
                                                  §
NATIONAL RIFLE ASSOCIATION                        §                CASE NO. 21-30085-hdh11
OF AMERICA and SEA GIRT LLC,                      §
                                                  §
          DEBTORS1                                §                Jointly Administered




                                      MASTER SERVICE LIST
                                      (as of February 23, 2021)




1
 The last four digits of the Debtors’ taxpayer identification numbers are: 6130 (NRA) and 5681 (Sea Girt). The
Debtors’ mailing address is 11250 Waples Mill Road, Fairfax, Virginia 22030.


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                          In re: Sea Girt LLC - Case No. 21-30080
              In re: National Rifle Association of America - Case No. 21-30085

                                  MASTER SERVICE LIST

                                   Debtor/Debtor’s Counsel


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 Sea Girt LLC
 11250 Waples Mall Road
 Fairfax, VA 22030

                                         U.S. Trustee

 Office of the United States Trustee
 Attn: Lisa Young
 Earle Cabell Federal Building
 1100 Commerce Street, Room 976
 Dallas, TX 75242

                                       Secured Creditors

 Atlantic Union Bank
 Attn: Andrew Kalin
 1800 Robert Fulton Drive, Suite 100
 Reston, VA 20191
 Email: andrew.kalin@atlanticunionbank.com




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                              20 Largest Unsecured Creditors

 Ackerman McQueen, Inc.                      Membership Marketing Partners LLC
 1601 Northwest Expressway                   11250 Waples Mill Road, Suite 310
 Oklahoma City, OK 73118-1438                Fairfax, VA 22030

 Gould Paper Corporation                     Infocision Management Corp.
 Attn: Warren Connor                         325 Springside Drive
 99 Park Avenue, 10th Floor                  Akron, OH 44333
 New York, NY 10016

 Under Wild Skies                            Valtim Incorporated
 c/o Dycio & Biggs                           P.O. Box 114
 10533 Main Street                           Forest, VA 24551
 Fairfax, VA 22030

 Quadgraphics                                Communications Corp of America
 N63W23075 Hwy. 74                           Attn: Ken Bentley
 Sussex, WI 53089                            13129 Airpark Drive, Suite 120
                                             Elkwood, VA 22718

 Membership Advisors Public REL              Salesforce.Com, Inc.
 11250 Waples Mill Road, Suite 310           One Mark St. – The Landmark, Suite 300
 Fairfax, VA 22030                           San Francisco, CA 94105

 Mercury Group                               Speedway Motorsports, Inc.
 1601 NW Expressway, Suite 1100              P.O. Box 600
 Oklahoma City, OK 73118                     Concord, NC 28026


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 Frederick, MD 21701                            Mountain View, CA 94043-1351

 TMA Direct, Inc.                               United Parcel Services
 12021 Sunset Hills Road, Suite 350             P.O. Box 7247-0244
 Manassas, VA 20109                             Philadelphia, PA 19170

 Membership Advisors Fund Raising               Stone River Gear, LLC
 11250 Waples Mill Road, Suite 310              P.O. Box 67
 Fairfax, VA 22030                              Bethel, CT 06801

 Krueger Associates, Inc.                       CDW Computer Centers, Inc.
 105 Commerce Drive                             P.O. Box 75723
 Aston, PA 19014                                Chicago, IL 60675

                                      Government Agencies


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 P.O. Box 7346                                  Attn: Letitia James
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